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6
7                               UNITED STATES DISTRICT COURT

8                               FOR THE DISTRICT OF ARIZONA

9
10
     United States of America,                           No. CR-17-00713-PHX-JJT (JZB)
11
                         Plaintiff,
12                                                       MOTION TO PRECLUDE
            v.                                           INTRODUCTION OF
13                                                       CONFIDENTIAL MARITAL
                                                         COMMUNICATIONS BY
14   James Franklin Norton, et al.,                      DEFENDANT NORTON

15                       Defendants.
                                                         (Assigned to the Hon. John J. Tuchi)
16
                                                         (Oral argument requested)
17
18         James Norton, represented by Ivan K. Mathew, respectfully requests that the Court
19   preclude confidential marital communications allegedly between Jim Norton and Kelly
20   Norton (“Mrs. Norton”) pursuant to Fed. R. Evid. Rule 501 (marital privilege). With certain
21   exceptions, communications between a husband and wife are privileged. Trammel v.
22   California, 445 U.S. 40, 47 (1980).
23                                          SUMMARY
24         The government met with Mrs. Norton on October 28, 2016, March 21, 2017, May 2,
25   2017, and May 17, 2017. The government was aware of the existence of the marital privilege
26   during these interviews.
27         The    marital communications privilege         “protects from disclosure      private
28
                                                     1
 1   communications between spouses.” U.S. v. Griffin, 440 F.3d 1138, 1143-44 (9th Cir. 2006).
 2   The privilege may be invoked by the non-testifying spouse. United States v. Marashi, 913
 3   F.2d 724, 729 (9th Cir. 1990). However, “the marital communications privilege does not
 4   apply to statements made in furtherance of joint criminal activity.” Id., 913 F.2d at 731
 5   (emphasis added).
 6          1. The Marital Communication Privilege
 7          Rule 501 provides in pertinent part: “[T]he privilege of a witness…shall be governed
 8   by the principles of the common law as they may be interpreted by the courts of the United
 9   States…” Fed. R. Evid. In Marashi, supra, 913 F.2d at 729-730, the Ninth Circuit explained
10   the marital communications privilege as follows: The confines of the marital
11   communications privilege are easy to describe. “First, the privilege extends to words or acts
12   intended as communication to the other spouse…Second, it covers only those
13   communications made during a valid marriage…Third, the privilege applies only to those
14   marital communications which are confidential” i.e., not made or likely to be heard by third
15   parties. Id.
16          The privilege does not extend to “statements made in furtherance of joint criminal
17   activity.” Marashi, supra, 913 F.2d at 731. In deciding United States v. Ramos-Oseguera
18   120 F.3d 1028, 1042, (9th Cir. 1997), over ruled in part on other grounds, United States v.
19   Nordby, 225 F.3d 1053 (9th Cir. 2000), the Ninth Circuit held: “This circuit has held that ‘the
20   marital communications privilege does not apply to communications having to do with
21   present or future crimes in which both spouses are participants.’” (quoting Marashi, supra,
22   913 F.2d at 730). The privilege exists “‘to protect the integrity of marriages and ensure that
23   spouses freely communicate with one another.’” Griffin, supra, 440 F.3d at 1143 (quoting
24   United States v. White, 974 F.2d 1135, 1138 (9th Cir. 1990)). The marital communications
25   privilege protects from disclosure the private communications between spouses.              Id.
26   “Communications between the spouses, privately made, are generally assumed to have been
27   intended to be confidential…” Wolfle v. United States, 291 U.S. 7, 14 (1934); see also
28   Pereira v. United States, 347 U.S. 1, 6 (1954) (“martial communications are presumed to be
                                                   2
 1   confidential”).
 2          2. Facts
 3          The indictment covers the period 2011 to 2013. During this period, Jim Norton and
 4   Kelly Norton were married. In the fall of 2016, Arizona Corporation Commissioner Robert
 5   Burns suggested to the FBI that they should interview Kelly Norton.1 On or about March
 6   21, 2017, May 2, 2017, May 17, 2017 and October 28, 2016, Kelly Norton was interviewed
 7   by the FBI. They knew full well she was married to Mr. Norton at the time.
 8                 a. Interview of Kelly Norton, March 21, 2017
 9          At the very onset of the March 21, 2017, interview, which was attended by
10   prosecutors, the government acknowledged the issue of the marital privilege. See following
11   discussion and Exhibit 1, attached hereto (excerpt of Kelly Norton interview, March 21,
12   2017, Pages 31, 33, 35-36).
13
            Speaker 1:             Yeah, KMB Consulting.
14
            Frank Galati:          Okay.
15
            Speaker 1:             And so I had a separate checking account, so he gave
16                                 me $6,000 a month. And I did some other things for
                                   George, and then he told me that I needed to pay Sheri
17
                                   $3500 a month.
18          Kelly Norton:          Okay.
19                                 And I was upset because I'm perfectly capable
                                   [00:46:00] of doing whatever work I thought it was that,
20
                                   I didn't realize at first what was going on, so I said, why
21                                 am I hiring Sheri when I am perfectly capable of doing
                                   this? And I had started my own little consulting
22                                 business, right, so why am I having to give her half my
23                                 money? You know?

24   1
       Mr. Robert Burns is a rogue commissioner whose lawsuit against his fellow commissioners
25   recently culminated in the Superior Court of Arizona finding that Mr. Burns did not have the
     right to unilaterally issue subpoenas to a utility company despite Mr. Burns’ knowledge that
26   the subpoenas had been disapproved by the majority of the other commissioners. The
27   Superior Court of Arizona dismissed Mr. Burns’ lawsuit, which he filed against his fellow
     commissioners personally. Ironically, the government unilaterally issued subpoenas in this
28   case.
                                                     3
 1                             So, I was not happy about it, and then, and then Jim,
                               which I think it's spousal privilege or whatever, he and
 2                             I had a discussion, and he told me that Gary-
 3         Ms. Shefveland:     Okay, wait, wait a minute. Wait a minute. If it, if this
                               is a spousal privilege, we can't use it. Was this
 4                             conversation [00:46:30] between you and Jim private?
 5         Kelly Norton:       Yeah.
 6         Ms. Shefveland:     Just have to deal with that at another point, we’ll have
                               to skip over that.
 7
           Kelly Norton:       Okay.
 8         Frank Galati:       So, as a result of a conversation you had with Jim, or
 9                             did you do something with Sheri?
           Kelly Norton:       I hired her.
10
           Frank Galati:       Could you tell us about times when either George or
11                             George and Jim were giving you instructions? Because
12                             obviously, uh, the spousal privilege would not apply in
                               George’s presence.
13
           Kelly Norton:       George was going to put up the money, and then we
14                             were going to buy it so that Gary and his son could run
                               it to help Gary and I threw an absolute fit when he did
15                             that. Because it was like $400,000.00. I’m like, “No
16                             way. I’m not doing that.” So far as I know, it never
                               happened. (laughs) But [00:53:00] it didn’t happen with
17                             my name on it, so but it was going to be Jim and I buying
                               it with George’s money.
18
           Marilyn:            And-and it was your understanding that-that Gary was
19                             a part of those discussions?
20         Kelly Norton:       Absolutely.
21         Marilyn:            And part of the plan and-and that is something he was
                               wanting.
22
           Kelly Norton:       Yeah, well, Gary sent the email with here's the piece of
23                             land. He had made an offer on it, and the offer had his
                               and Jim’s name on it.
24
25         At a hearing, Defendant Norton will show that the scenario is false. There was no

26   such conversation including George Johnson.

27                b. Interview of Kelly Norton, May 2, 2017

28         The marital privilege issue came up again during the interview of Mrs. Norton on

                                                 4
 1   May 2, 2017. See below discussion and Exhibit 2 hereto (excerpt of Kelly Norton interview,
 2   May 2, 2017, Pages 66 and 72).
 3
 4         Fred Battista:       And were you following this based upon [01:23:30]
                                instructions that you had received? You, were you
 5                              taking these actions based upon conversations that
                                you'd had with Jim?
 6
           Kelly Norton:        Yes.
 7
           Fred Battista:       All right.
 8         Kelly Norton:        Which is all spousal privilege right?
 9         Fred Battista:       Well we'll talk to your attorney about that.
10         Kelly Norton:        Okay.
11         Ms. Shefveland:      Yeah that's, they have to talk about that.
           Kelly Norton:        All right.
12
           Ms. Shefveland:      There's a specific um-
13
           Fred Battista:       Yeah I.
14
           Ms. Shefveland:      Situation there.
15         Fred Battista:       Yeah we’ll talk to your attorney.
16         Kelly Norton:        Okay. All right.
17         Ms. Shefveland:      Thank you, and I know we’re, sometimes we ask
                                questions three different ways.
18
           Kelly Norton:        That’s okay.
19
           Ms. Shefveland:      But, but, okay good, I appreciate you understanding,
20                              [01:24:00] just kinda how uh things work. Especially
                                in federal cases, so, we already discussed this uh, social
21                              security number one.
22         Fred Battista:       Okay.
23         Kelly Norton:        To pass on to Jim. We were in Durango on vacation.
24         Ms. Shefveland:      Mm-hmm (affirmative), oh okay.
           Fred Battista:       Why was he, why was he emailing you?
25
           Kelly Norton:        Because, and I don't know, this might be part of this
26                              spousal privilege.
27         Fred Battista:       Okay.
28         Kelly Norton:        What Jim told me was, that George was gonna put up

                                                   5
 1                             the money, because I threw a total fit when I saw that,
                               that Jim was gonna buy this [01:31:30] land for Gary,
 2                             and Jim said don’t worry, George is putting up the
                               money. Um, and I put my foot down. I mean I have my
 3                             real estate license, you know, you can't just do stuff like
 4                             that, when you have your real estate license you have to
                               follow all the rules and everything, and, so I’m like, I
 5                             would’ve had to know about it and uh, and so originally
                               the document I think had Gary's and Jim's name on it.
 6
 7                c. Interview of Kelly Norton, May 17, 2017

 8         The marital privilege issue came up again during the interview of Kelly Norton on

 9   May 17, 2017. See discussion below and Exhibit 3 hereto (excerpt of Kelly Norton

10   interview, May 17, 2017, Page 2).

11
           Fred Battista:      Okay. Well thanks, thanks for coming again, Kelly. We
12                             appreciate it. Um, you know, we, I had an opportunity
13                             to talk to your attorney, Doug, and, um, we [00:00:30]
                               just, there's one matter that we hadn’t covered before
14                             that we just wanted to cover today and that's, uh,
                               conversations that you had with Jim Norton a-, at the
15
                               time that you were married, but we will limit those
16                             conversations to, uh, conversations that, that you had
                               with respect to, um, benefiting Gary and [Sherry
17                             00:00:56] Pierce, uh, through, uh, financial [00:01:00]
18                             benefits or other benefits, uh, being funneled through,
                               um, Jim Norton from, uh, George Johnson. So, that’s
19                             the, that's basically the scope of, of what we wanna talk
                               about.
20
                               Obviously, in the past, we have talked about this in a
21                             limited fashion, but, um, we believe that because of the,
22                             the nature of what was happening that there's, uh, an
                               exception to the, uh, marital privilege. [00:01:30] And,
23                             uh, that, that you can tell us what, um, about those
                               conversations and we're not gonna stray out, outside of
24
                               that narrow band of, of conversations.
25         Kelly Norton:       Okay.
26         Ms. Shefveland:     Yeah, wanna cover the, the other issue now or-
27         Fred Battista:      Well-

28         Ms. Shefveland:     At the end?

                                                 6
 1          Fred Battista:       We’ll do that at the end.
            Ms. Shefveland:      At the end, okay.
 2
 3          3. The Mesa Real Estate Transaction That Did Not Occur

 4          The government clearly acknowledged the existence of the marital communications

 5   privilege. Nonetheless, it had at least four interviews with Mrs. Norton.

 6          The Ninth Circuit has held that the marital privilege is only applicable if both husband

 7   and wife are participants in the crime. In this particular circumstance, Kelly Norton states

 8   that she did not want to be part of an alleged crime of purchasing land with Commissioner

 9   Burns. Kelly Norton further states that Jim Norton did not purchase land with Gary Pierce.

10   Thus, neither husband nor wife were participants in a criminal transaction.               The

11   communications about this transaction are covered by the marital privilege.

12          4. The Political Consulting Work Done by Jim Norton and Sherry Pierce

13          Any alleged statements made by Jim Norton to Kelly Norton about the political

14   consulting work done by Sherry Pierce is also entitled to the protection of the marital

15   privilege. Jim Norton during the relevant periods worked for R&R Partners, a well-known

16   lobbying and public relations firm. Kelly Norton had a contract with R&R. Kelly Norton

17   entered into a written contractual agreement to assist with projects as needed. Sherry Pierce

18   is entitled to work as a political consultant and get paid. She is a moving force in the East

19   Valley political circles. Jim Norton, Kelly Norton and Mrs. Pierce assisted George Johnson

20   in trying to mobilize the support of voters in the East Valley. This is protected speech. U.S.

21   Constitution Amendment 1; Citizens United v. Federal Election Com’n, 558 US 310; 130 S.

22   Ct. 876, 350, (2010) The Supreme Court held that independent expenditures do not give rise

23   to corruption or an appearance of corruption. Id. Ingratiation and access in any event, are

24   not corruption. Id. at 360. citing Buckley v. Vallejo, 424 U.S. 1, 45-47 (1976). This is not a

25   violation of law. 18 U.S.C. § 666(c) (“This section does not apply to bona fide salary, wages,

26   fees, or other compensation paid, or expenses paid or reimbursed…”). Furthermore, that

27   fact Sherry Pierce (or for that matter, Gary Pierce) merely received benefits for their work is

28   not a crime. The government has not shown that any payments to Sherry Pierce are in

                                                     7
 1   violation of federal law.
 2          Defendants are immune from prosecution for exercising First Amendment rights
 3   which are protected. They are immune from prosecution for Political speech. Jim Norton,
 4   Kelly Norton and Sherry Pierce were assisting George Johnson on marshalling support to
 5   maintain parts of the East Valley as unincorporated towns. In United States v. Kincaid-
 6   Chauncey, the Ninth Circuit held lobbying activities are not subject to bribery charges.
 7   United States v. Kincaid-Chauncey, 556 F.3d 923, 943 (9th Cir. 2009). Jim Norton is one
 8   of the preeminent lobbyist in Arizona. In addition, bona fide compensation is not subject to
 9   bribery charges as a matter of law. 18 U.S.C. § 666(c).
10          The government has not laid a foundation to show a crime which would allow Kelly
11   Norton’s testimony to be admitted about any statements made to her by Jim Norton. Seeking
12   the election of officials who have similar political views is protected by the First
13   Amendment. Jim Norton’s alleged statements about the work performed for Mr. Johnson’s
14   company must be suppressed.
15          5. The Marital Privilege Belongs to Jim Norton
16          Jim Norton exercises his marital communication privilege. This privilege belongs to
17   Mr. Norton.     Despite numerous acknowledgments of the marital privilege issue, the
18   government proceeded to trample over the privilege and, thus, Mr. Norton’s rights. The
19   government seeking input from the unindicted co-conspirator’s attorney is puzzling and
20   troubling.
21                                          CONCLUSION
22          Defendant exercises his marital communication privilege. The statements allegedly
23   made by Jim Norton to his wife Kelly Norton outside the presence of third parties should not
24   be introduced at the trial in this matter as it would violate the marital privilege. Fed. R. Evid.
25   Rule 501; Trammel v. California, 445 U.S. 40, 47 (1980).
26                                       EXCLUDABLE DELAY
27          It is anticipated that excludable delay pursuant to 18 U.S.C. § 3161(a)(7)(A) may
28   occur as a result of this Motion.
                                                     8
 1
 2         RESPECTFULLY SUBMITTED this 22nd day of March, 2018.
 3
                                       MATHEW & ASSOCIATES
 4
 5                                     By: /s/ Ivan K. Mathew
                                            Ivan K. Mathew
 6                                          Attorneys for Defendant James Norton
 7
 8   ORIGINAL e-filed and COPY of the foregoing
     served via the CM/ECF System or U.S. Mail on
 9
     March 22, 2018, to:
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                                                  9
